           Case 2:05-cr-00117-MCE Document 23 Filed 05/03/05 Page 1 of 3


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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         No. CR-S-05-117 MCE
12             Plaintiff,
13        v.
14   FRANCISCO CASTRO-HERRERA,
     LEONARDO JAIME-RENDON, and
15   PEDRO GUADARRAMA-LOPEZ,
16             Defendants.
     ___________________________/
17
     UNITED STATES OF AMERICA,         No. CR-S-05-118 MCE
18
               Plaintiff,
19
          v.                           RELATED CASE ORDER
20
     LEONARDO JAIME-RENDON,
21
               Defendant.
22   ___________________________/
23   UNITED STATES OF AMERICA,         No. CR-S-05-119 MCE
24             Plaintiff,
25        v.
26   PEDRO GUADARRAMA-LOPEZ,
27             Defendant.
     ___________________________/
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            Case 2:05-cr-00117-MCE Document 23 Filed 05/03/05 Page 2 of 3


1          Examination of the above-entitled criminal actions reveals
2    that these actions are related within the meaning of Local Rule
3    83-123(a) (E.D. Cal. 1997).      The actions involve many of the same
4    defendants and are based on the same or similar claims, the same
5    property transaction or event, similar questions of fact and the
6    same questions of law, and would therefore entail a substantial
7    duplication of labor if heard by different judges.          Accordingly,
8    the assignment of the matters to the same judge is likely to
9    effect a substantial savings of judicial effort and is also
10   likely to be convenient for the parties.
11         The parties should be aware that relating the cases under
12   Local Rule 83-123 merely has the result that both actions are
13   assigned to the same judge; no consolidation of the action is
14   effected.   Under the regular practice of this court, related
15   cases are generally assigned to the district judge and magistrate
16   judge to whom the first filed action was assigned.
17         IT IS THEREFORE ORDERED that the actions denominated CR-S-
18   05-118, UNITED STATES OF AMERICA v. LEONARDO JAIME-RENDON and CR-
19   S-05-119, UNITED STATES OF AMERICA v. PEDRO GUADARRAMA-LOPEZ are
20   reassigned to Judge Morrison C. England, Jr. for all further
21   proceedings, and any dates currently set in these reassigned
22   cases only are hereby VACATED.      Henceforth, the caption on
23   documents filed in the reassigned cases shall be shown as CR-S-
24   05-118 MCE and CR-S-05-119 MCE.
25   ///
26   ///
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           Case 2:05-cr-00117-MCE Document 23 Filed 05/03/05 Page 3 of 3


1         IT IS FURTHER ORDERED that the Clerk of the Court make
2    appropriate adjustment in the assignment of criminal cases to
3    compensate for this reassignment.
4         IT IS SO ORDERED.
5    DATED: May 2, 2005.
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7                                  __________________________________
                                   MORRISON C. ENGLAND, JR
8                                  UNITED STATES DISTRICT JUDGE
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